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                             Exhibit 1

                    Filed Manually
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                             Exhibit 2

                    Filed Manually
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                             Exhibit 3
Case 4:17-cv-00186-RLY-DML             Document 338-1         Filed 05/20/20     Page 4 of 36 PageID
                                             #: 7335




Clay Culotta
815 E. Market Street
New Albany, IN 47150

Tim Stark
3320 Jack Teeple Road,
Charlestown, IN 47111

Via email to clayculotta@culottalaw.com; wildlifeinneed@aol.com

May 12, 2020

Re:    PETA v. Wildlife In Need and Wildlife in Deed, et al.
       Court No: 4:17-cv-0186

Dear Messrs. Culotta and Stark,

        We are aware that two Big Cats—a female lion, Nera, and a male tiger,
Jomba—died, or were near death, at Wildlife in Need (“WIN”) this week. We write
with a number of concerns.

         First, PETA is distressed that Mr. Stark, Ms. Lane, and WIN (collectively,
“WIN Defendants”), in Mr. Stark’s words, “could not provide veterinary care.” If
this is the case, the parties should immediately meet and confer regarding reputable
sanctuaries that are willing and able to provide necessary care to the Big Cats at
WIN.

        In addition, if the above is true, your prior discovery responses regarding
Dr. Kurt Oliver are no longer accurate and your failure to provide an update is
discovery misconduct. See ECF Nos. 51 and 113 (ordering Defendants to respond
without objection to PETA’s first set of interrogatories and discovery requests) and
47-1, at 6 (requesting, in Interrogatory No. 5, information regarding the Big Cats’
attending veterinarian). See also Fed. R. Civ. P. 26(e)(1)(A) (requiring parties to
supplement interrogatories “in a timely manner”).

        As such, please let PETA know by Thursday, May 14, 2020 whether you
have an attending veterinarian for the Big Cats. These disclosures must include
any attending veterinarian’s name, business address, and telephone number. Please
also propose a range of available dates and times for a meet and confer.

        Second, it is disturbing that PETA has not received any information about
Big Cat deaths from WIN Defendants or counsel. As you are surely aware, you are
obligated, under court order, to update PETA with respect to Big Cat deaths and
causes of death. See ECF Nos. 51 and 113 and 47-1, at 7 (requesting, in
Interrogatory No. 7, information regarding whether each Big Cat that has ever been
in Defendants’ possession, custody, or control is alive or deceased, including the
cause of death). See also Fed. R. Civ. P. 26(e)(1)(A).
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       Third, PETA is aware that, although Jomba’s deterioration was apparent,
Mr. Stark announced that he did not intend to have Jomba euthanized. PETA is
also aware that neither Nera nor Jomba received veterinary care and that Mr. Stark
decided not to have necropsies performed.

        Your decision not to perform necropsies is disturbing. Failing to perform
necropsies violates generally accepted husbandry practices. See, e.g., U.S.
Department of Agriculture, USDA Animal Care Inspection Guide, § 4.12.5.7
(explaining that failure to perform necropsies in the event of “unexplained
mortality” may be inadequate veterinary care under 9 C.F.R. § 2.40); AZA, 2020
Accreditation Standards & Related Policies, § 2.5.1 (2020) (“Deceased animals
should be necropsied to determine the cause of death for tracking morbidity and
mortality trends”). These concerns are all the more pronounced given guidance
from the Centers for Disease Control and Prevention (“CDC”) that SARS-CoV-2
“can spread from people to animals.” See CDC, COVID-19 and Animals,
Coronavirus      Disease     2019     (COVID-19)        (April      30,    2020),
https://www.cdc.gov/coronavirus/2019-ncov/daily-life-coping/animals.html.

        Failure to perform necropsies is also spoliation of evidence. See Consent
Order Preserving Evidence and Withdrawing Rule 27 Petition, PETA v. Wildlife
in Need and Wildlife in Deed, Inc., et al., No. 4:17-MC-00003-RLY-DML (S.D.
Ind. Sept. 18, 2017), ECF No. 27 (requiring WIN Defendants to preserve all
tangible evidence, including Big Cats); ECF No. 239 (reiterating that Big Cats are
“tangible” evidence).

        PETA’s concerns about the means by which you may or may not have
euthanized these Big Cats are similarly well founded. Mr. Stark has a history of
using cruel and illegal methods to euthanize animals. See, e.g., Deposition
Transcript of Tim Stark, at 329:16-331:9 (“I’ve used a baseball bat. I’ve used guns.
I’ve used whatever. . . . Your job is to euthanize it. You know what that end result
is? F*ckin’ death. So it does not matter how.”).

       PETA insists that you have necropsies performed as soon as possible by a
reputable veterinarian. Please let PETA know by Thursday, May 14, 2020 who
will be performing these necropsies. In addition, please (1) affirm that you will
have immediate necropsies performed in the event of future Big Cat deaths and (2)
let PETA know when it can expect to receive copies of any necropsy reports
pursuant to PETA’s Request for Documents No. 5. See ECF No. 47-1, at 6.

        Your disclosures concerning causes of death must include a description of
the euthanasia practices used, if any.

        Finally, PETA is also aware that Mr. Stark has made a number of
threatening statements regarding PETA and counsel. These include the statement
that “I will slice every f*cking one of their goddamn throats. I will put them under.
The same way they’re destroying my family, here I come.” Such threats are illegal,
                                         2
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and must cease immediately. See, e.g., 18 U.S.C. § 875(c). To the extent that they
are directed at PETA personnel identified on PETA’s Preliminary Witness List,
see ECF No. 152-1, these statements are witness tampering. See 18 U.S.C. §
1512(a)(2) (making it a federal crime to use “the threat of physical force against
any person . . . to . . . cause or induce any person to . . . withhold testimony”).

       We expect to hear back shortly. We reserve all rights.

       /Asher Smith/

       Asher Smith
       AsherS@petaf.org




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                             Exhibit 4
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                                   #: 7343




                             Exhibit 5
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                                                   #: 7344




Clay Culotta
815 E. Market Street
New Albany, IN 47150

Tim Stark
3320 Jack Teeple Road,
Charlestown, IN 47111

Via email to clayculotta@culottalaw.com; wildlifeinneed@aol.com

May 15, 2020

Re:      PETA v. Wildlife In Need and Wildlife in Deed, et al.
         Court No: 4:17-cv-0186

Dear Messrs. Culotta and Stark,

        We are in receipt of Mr. Culotta’s May 13, 2020 email and his May 14,
2020 letter. We still have a number of questions. Given the urgency of these issues,
we request that you provide certain further responses—detailed below—by close
of business on Monday, May 18, 2020. We also request that you include proposed
dates and times for a meet and confer on Monday or Tuesday.

        First, we do not know what to make of Mr. Culotta’s statement that “Mr.
Stark advised me that he has a veterinarian. He did not identify that person or their
contact information.” Mr. Stark is legally required to have an attending
veterinarian for the Big Cats. This individual is required to have signed on to a
written program of veterinary care. 9 C.F.R. § 2.40(a)(1). There is no reason for
this individual’s identity to be a mystery. There is also no basis for corporate
counsel to cease investigation and pass off responsibility to Mr. Stark. Mr. Culotta
is counsel to WIN. Mr. Stark is WIN’s president and primary decision-maker. WIN
Defendants, and their counsel, are accountable all aspects of this litigation.1

        If Dr. Kurt Oliver is no longer the attending veterinarian for the Big Cats,
then that should have already been disclosed. The last PETA heard with respect to
Dr. Oliver is that “Dr. Oliver has not resigned his position and remains WIN’s Big
Cat veterinarian. . . . [I]f medical care was necessary, Dr. Oliver would be
contacted to perform those services.” ECF. No. 215, at 3.



1
  We note that Mr. Culotta’s letter referred to a video that appears to have been published to a
private social media page. To the extent Mr. Culotta, Mr. Stark, Ms. Lane, or WIN is aware of the
existence of references to PETA, or of photographs, videos, or other depictions or descriptions of
the Big Cats, on social media accounts they manage or that are otherwise in their possession,
custody, or control, these must be immediately produced. See ECF Nos. 51 and 113 and 47-1, at
5-8 (requests for production pertaining to depictions and descriptions of the Big Cats, including
photos and videos, and pertaining to “social media posts, comments, videotapes, recordings, or
documents relating to any animal protection groups, including without limitation, PETA”).
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        PETA would also be entitled to any documents pertaining to the care
provided to the Big Cats by a new veterinarian. See ECF Nos. 51 and 113 and 47-
1, at 5-7 (requests for production pertaining to the Big Cats and their veterinary
care).

        As such, please provide the name of the Big Cats’ attending veterinarian
by Monday, May 18, 2020. This disclosure should include a description of this
individual’s credentials; their place of business and contact information; their
written program of veterinary care; their availability to WIN in emergencies; and
an explanation of why they do not appear to have been called to treat or euthanize
either Nera or Jomba. See, e.g., May 14, 2020 letter from C. Culotta, at 3-4 (listing
Mr. Stark as the person administering medication to Nera between April 30, 2020
and her death on May 10, 2020). This is no more than is already required by the
Animal Welfare Act (“AWA”). 9 C.F.R. §§ 2.40(a)(1)-(5), (b)(1)-(5) (requiring
that an attending veterinarian have sufficient credentials and training or experience
in the species being attended, that the attending veterinarian provide adequate
treatment and euthanasia, and that the attending veterinarian be available in case
of emergencies).

        Mr. Culotta’s responses are also silent regarding the precise causes of death
of Nera and Jomba and the methods of euthanasia used, if any. As noted, PETA is
entitled to this information by court order. See ECF Nos. 51 and 113 and 47-1, at
7 (Interrogatory No. 7). Please provide this information by Monday, May 18, 2020
as well.

        PETA also cannot accept Mr. Stark’s refusal to perform necropsies. Mr.
Culotta is mistaken that necropsies are not required. All Defendants are required
to provide adequate veterinary care under the AWA. 9 C.F.R. § 2.40(a). The
decision and order revoking Mr. Stark and WIN’s license to exhibit animals found
respondents’ numerous failures to seek necropsies to be inadequate veterinary
care. See Decision and Order, In re Timothy L. Stark, et al., AWA Docket Nos. 16-
0124 and 16-0125, at 42-46, 156-157. The USDA’s Animal and Plant Health
Inspection Service (“APHIS”), which is responsible for administering the AWA,
considers failure to perform necropsies in the event of “unexplained mortality”
indicia of inadequate veterinary care. See USDA, USDA Animal Care Inspection
Guide, § 4.12.5.7. See also Transcript of USDA Hearing, at 2121:5-7 (L. Gage)
(“When a young animal dies, I think it's important to do a necropsy on any young
animal that just shows up dead.”).

        PETA also disagrees that avoiding necropsies—especially in the event of
the sudden and unexplained death of a young animal—is not spoliation. Tissue
degradation occurs rapidly after death. Defendants are required to preserve all
tangible evidence, including the Big Cats and any evidence pertaining to causes of
death. See Consent Order Preserving Evidence and Withdrawing Rule 27 Petition,
PETA v. Wildlife in Need and Wildlife in Deed, Inc., et al., No. 4:17-MC-00003-
RLY-DML (S.D. Ind. Sept. 18, 2017), ECF No. 27; ECF No. 239. Forgoing a
necropsy where it would otherwise be required is a deliberate choice to evade
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discovery. See People for Ethical Treatment of Animals, Inc. v. Tri-State
Zoological Park of W. Maryland, Inc., 424 F. Supp. 3d 404, 413-422 (D. Md.
2019) (“Defendants violated generally accepted standards of care even after some
of the animals at issue died. Performing a necropsy is a basic standard of care,
especially on an animal protected under the ESA. . . . Defendants chose not to
perform a necropsy on Bandit, even though [Defendant] has kept Bandit's body,
wrapped in a trash bag, in a freezer on zoo grounds and for reasons not altogether
clear to the Court. . . . The Court does not credit that Bandit died of ‘cancer.’”
(citations omitted))

       We await your prompt response.

       Sincerely,

       /Asher Smith/

       Asher Smith
       AsherS@petaf.org




                                        3
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                             Exhibit 6
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From: wildlifeinneed@aol.com <wildlifeinneed@aol.com>
Sent: Friday, May 15, 2020 1:31 PM
To: Asher Smith <AsherS@petaf.org>
Subject: Re: PETA v. Wildlife In Need, et al. ‐ Court No: 4:17‐cv‐00186

Dear Asher,
If you would like to have a conference call I’m pretty much available anytime,all you have to do is let me know
when.
To state for the record I am required to have an attending veterinarian, but that is strictly through USDA, not
PETA !!!!!
PETA is suing me concerning the endangered species act, not the animal welfare act. So what is required or not
required under the animal welfare act is none of your all’s business. I only report to them concerning my
license. PETA is not entitled to anything. I have not or am not doing anything illegal. As far as any vet needing
certain credentials for any certain species are nothing more than total lies created by PETA. The only
credentials any vet needs to take care of any animal is a simple thing called a veterinarian degree !!!!!
Now to the next subject, necropsies are not mandatory at any given time for any reason. The USDA suggests
that you do necropsies for unexplained deaths. Now if I have another big cat come down with the same
symptoms and die, then I WILL at that time choose to have a necropsy done. Or not. It’s still my choice. So quit
trying to convince the courts or anyone else that I am illegally doing anything. Just because PETA says it is
illegal, does not make it illegal. They are not a governing agency !!!!!! Also the USDA decision is just that, a
decision. It is not final. It is under appeal so therefore I will not tolerate you or anyone else applying that I am
guilty of any of those charges. Anything that I’ve ever been written up for is also nothing more than a write.
That doesn’t make me guilty !!!! As far as me reporting to PETA concerning the death of either one of these
two cats, it happened. Nera was unexplained. Simple as that !!!! No necropsy will be performed. She has
already been buried. As far as Jomba is concerned, he was 22 years old. He died of old age, end of discussion
!!!! Burying these two cats is in no way spoliation of evidence. No matter how anyone tries to say any different,
animals are NOT tangible evidence. When these two cats passed away, am I in contempt of court because I
could not keep them alive or in the exact same condition they were in last week, last month, or last year ? Now I
come to some dumbass issue you brought up about Bandit. Are you even aware what Bandit was ? He was
a dog !!! I am not licensed for dogs. Also, he was immediately buried at the time of his death. He was not put in
                                                             1
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any freezer or anything of that nature. So check your resources of where your getting your so called facts !!!
Now while I have time I will also address the issue of me making personal threats to anyone because I have not.
Just because your clients think they can get away with all of their terroristic tactics and bully and intimidate
everyone and threaten me by using the court system as their weapon does not scare me. The truth will prevail. I
don’t give a rats ass if they don’t like having death threats or anything else thrown at them. Thanks to them, I
have dozens and dozens of death threats on a weekly basis.Mail
Get the new AOL app: mail mobile.aol.com


On Friday, May 15, 2020, Asher Smith <AsherS@petaf.org> wrote:


 Clay; Mr. Stark,



 Please see the attached reply.



 Thanks,



 Asher



 Asher Smith | Litigation Manager

 PETA Foundation

 1536 16th St. NW

 Washington, DC 20036

 M: (516) 528-3109

 AsherS@petaf.org




 Admitted to practice law only in New York.




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 From: Clay Culotta <clay@culottalaw.com>
 Sent: Thursday, May 14, 2020 4:12 PM
 To: Asher Smith <AsherS@petaf.org>
 Cc: Lewis, Brian <Brian.Lewis@btlaw.com>; Olszowka, Paul <Paul.Olszowka@btlaw.com>; Melisa Stark

                                                                                 2
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                                                        #: 7350
<wildlifeinneed@aol.com>
Subject: Response to 5/12/20 Letter




Asher,



Please see the attached response.



Clay




J. Clayton Culotta




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office - (812) 941-8886 ext. 24
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                             Exhibit 7
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                             Exhibit 8
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

 PEOPLE FOR THE ETHICAL                        )
 TREATMENT OF ANIMALS, INC.,                   )
                                               )
                        Plaintiff,             )
                                               )
 v.                                            )       Case No. 4:17-cv-00186-RLY-DML
                                               )
 WILDLIFE IN NEED AND                          )
 WILDLIFE IN DEED, INC.,                       )
 TIMOTHY L. STARK, AND                         )
 MELISA D. STARK, AND                          )
 JEFF LOWE                                     )
                                               )
                        Defendants.            )

                               DECLARATION OF ASHER SMITH

        I, Asher Smith, hereby state as follows:

        1. I am counsel for Plaintiff People for the Ethical Treatment of Animals, Inc. (“PETA”) in

 this action. I submit this declaration to record, based on my present recollection while it is fresh in

 my memory, a May 19, 2020 telephonic meet and confer with Defendants Wildlife in Need and

 Wildlife in Deed, Inc. (“WIN”), Tim Stark, and Melisa Stark (collectively, “WIN Defendants”).

 Present on WIN Defendants’ behalf were counsel for WIN and Ms. Stark (Clay Culotta), Mr. Stark,

 and Jessica Amin, a WIN staff member responsible for providing care to lions, tigers, and hybrids

 thereof (“Big Cats”). Present on behalf of PETA were Caitlin Hawks, Gabriel Walters, Paul

 Olszowka, and myself.

        2. At the start of the call, Mr. Stark asked that it not be recorded. To the best of my

 knowledge, no one present on the call on behalf of PETA recorded the call. I do recall the discussion

 in detail. I believe the statements contained within quotation marks below to be true and accurate

 transcriptions of Mr. Stark’s statements, with the exception that I have censored expletives.
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        3. I began the meet and confer by asking WIN Defendants if they currently have an

 attending veterinarian for the Big Cats and, if so, their identity. Mr. Stark responded that it was “none

 of your d*mn business.” When I asked Mr. Stark if Dr. Kurt Oliver was still the attending

 veterinarian for the Big Cats, he stated: “Not answering that.” Mr. Stark also refused to state whether

 anyone had fulfilled the legal requirement of signing a written program of veterinary care for the

 Big Cats. Specifically, he stated that it was “[n]one of your d*mn business,” and asked, “Do you

 understand you can kiss my a*s?”

        4. After I informed Mr. Stark that he was required to disclose this information subject to

 orders of this Court requiring WIN Defendants to respond without objection to PETA’s discovery

 requests, Mr. Stark stated: “Oh well, tough sh*t, I’m not doing it.” He also stated later during the

 meet and confer, on the same subject: “I don’t give a sh*t what’s court ordered, anymore. I don’t

 care. There’s a difference between right and wrong and I will stand my ground. For any judge to

 rule against me when I haven’t broke the law, you and them can kiss my f*ckin’ a*s. It’s that simple.”

        5. When I asked Mr. Stark if a veterinarian had provided care to Nera and Jomba, two Big

 Cats who recently died at WIN, Mr. Stark admitted: “I can’t get a vet to set foot on my property.”

 He blamed PETA for this, and said that, as a result, he blames PETA for Nera’s death.

        6. I asked Mr. Stark to provide his best guess as to what caused Nera’s death. The only

 cause of death Mr. Stark was willing to identify for Nera was “natural causes.” When I asked Mr.

 Stark to elaborate, he stated that Nera “f*ckin’ died.” He added: “It’s natural for everything to die.

 There’s no way I can keep everything alive. Believe it or not, animals are not tangible evidence, I

 don’t give a sh*t what Judge Young says.”

        7. I asked Mr. Stark the same question with respect to Jomba. The only cause of death Mr.

 Stark was willing to identify for Jomba was “old age.” Mr. Stark stated that there were no medical


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 treatment records for Jomba because he did not see a reason to do so given Jomba’s advanced age.

 Mr. Stark compared Jomba to a human aged 95 years, asking if it would make sense to record

 medical treatments administered to a human who had reached so advanced an age.

        8. Mr. Stark stated that neither Nera nor Jomba were euthanized.

        9. Stark confirmed that he would not be performing necropsies and that he had already

 buried both Nera and Jomba.

        10. Mr. Stark frequently raised his voice and made a number of disparaging comments during

 the meet and confer. He referred to me on multiple occasions as a “little c*cksucker.” For example,

 he stated: “You want a war, you’ve got a war. I’m gonna bring out personal sh*t on you, Asher. I’m

 gonna bring out sh*t on all of you. I’m gonna put your personal sh*t on social media. Because you’re

 in a warzone now, you little c*cksucker. You’ve pushed me to the limit, and you’re f*ckin’ with the

 wrong f*ckin’ person.”

        11. At no point during the meet and confer did Mr. Culotta or Ms. Amin disagree with,

 clarify, or otherwise address any of Mr. Stark’s statements.



        I declare under penalty of perjury that the foregoing in true and correct.

 Executed this 20th day of May, 2020 in New York, New York.

                                                       /s/ Asher Smith
                                                       Asher Smith




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                             Exhibit 9
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA


  PEOPLE FOR THE ETHICAL                       )
  TREATMENT OF ANIMALS, INC.,                  )
                                               )
                         Plaintiff,            )
                                               )
  v.                                           )       Case No. 4:17-cv-00186-RLY-DML
                                               )
  WILDLIFE IN NEED AND                         )
  WILDLIFE IN DEED, INC.,                      )
  TIMOTHY L. STARK,                            )
  MELISA D. STARK, AND                         )
  JEFF LOWE,                                   )
                                               )
                         Defendants.           )

                       DECLARATION OF JENNIFER CONRAD, D.V.M.

         I, Jennifer Conrad, declare that if called as a witness in this action I would competently

  testify of my own personal knowledge as follows:

         1.      I am over the age of 18, of sound mind, and have freely given the testimony set

  forth in this Declaration.

                                 Qualifications and Basis of Opinion

         2.      I am a doctor of veterinary medicine currently practicing in Los Angeles. I hold a

  Doctorate of Veterinary Medicine (1994) from the University of California, Davis, School of

  Veterinary Medicine, where I took the Wildlife Medicine Track, and a Bachelor of Arts in Biology

  (1989) from the University of California at Berkeley. I am a member of the American Veterinary

  Medicine Association (AVMA), the American Association of Zoo Veterinarians (AAZV), the

  European Association of Zoo and Wildlife Veterinarians (EAZWV), the International Veterinary

  Academy of Pain Management (IVAPM), the American Association of Feline Practitioners

  (AAFP), and the International Society of Feline Medicine (ISFM).

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          3.     I work with and provide humane care to captive wildlife. I have cared for some 200

  lions and tigers over the course of my 26 years as a veterinarian. I have been the attending

  veterinarian, within the meaning of the Animal Welfare Act, for six USDA-licensed facilities

  housing lions, tigers, or hybrids thereof (“Big Cats”) during those 26 years. I am experienced in

  all aspects of veterinary care for Big Cats, including providing adequate comprehensive veterinary

  care.

          4.     During the hearing in this matter on the Plaintiff’s Motion for Preliminary

  Injunction, the Court found that I am qualified to testify as an expert on the treatment of Big Cats.

          5.     A copy of my curriculum vitae is attached as Exhibit 1 to this Declaration. I have

  testified as an expert regarding the proper care of captive tigers in the matter Kuehl v. Sellner, 161

  F. Supp. 3d 678 (N.D. Iowa 2016).

          6.     I am being compensated at a rate of $100.00 per hour, up to a maximum of $800.00

  per day, for my time spent in connection with this matter.

                                               Resources

          7.     In preparing this testimony, I have considered:

                 a. Video statements made by the Defendant, Tim Stark, in which he discusses the

                     death by unknown causes of a reportedly three-year-old lioness named Nera, in

                     which video he displays her corpse;

                 b. Video statements made by the Defendant, Tim Stark, in which he discusses the

                     impending death of a reportedly 20-to-22-year-old male tiger named Jomba, in

                     which video Mr. Stark lies upon the tiger’s body;

                 c. The medical treatment logs of the lioness Nera, apparently entered by Mr. Stark

                     or his staff, which were provided to the Plaintiff in this matter;



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                 d. Correspondence between counsel for the parties dated May 12 and May 14,

                      2020, regarding the deaths of these two Big Cats and related issues; and

                 e. Publicly available public health guidance and veterinary resources.

         8.      A list of the materials that I consulted in preparing this Declaration and formulating

  my opinions—including the medical treatment logs and the correspondence of counsel described

  above—is attached as Exhibit B to this Declaration. It is my understanding that the videos of Mr.

  Stark with the corpse of Nera and the dying Jomba will be filed with the Court concurrently with

  this Declaration.

                                               Opinions

         9.      Based on the information I reviewed, I conclude, to a reasonable degree of

  veterinary and scientific certainty, that the young lioness Nera received inadequate veterinary care

  that alone was sufficient to cause her death regardless of her underlying illness. And that,

  especially in light of the death of the male tiger Jomba the following day and the current

  coronavirus pandemic, necropsies of both deceased Big Cats were urgently needed for the

  protection of the remaining Big Cats and the public health.

         10.     Nera was first recorded as ill on Thursday, April 30, 2020, according to the

  treatment record. On that day she was listed as lethargic with a low appetite. The records do not

  indicate any lab work nor radiographs taken. Nor do they indicate a veterinarian was ever

  consulted.

         11.     The following day, Mr. Stark gave Nera Depo-Medrol 3.5 mL, which would be 70

  mg of a long-acting steroid. This medication is not to be given daily; the “depo” in the name refers

  to the fact it is long acting. In my experience, it is not given more than once every three weeks. As

  a long-acting steroid injected into the body, there is no going back if severe side effects begin.



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  Common side effects for this medication include inappetence from peptic ulcer, difficulty

  breathing caused by heart failure, electrolyte imbalances, diabetes, Cushing’s disease, muscle

  weakness, and gait abnormalities. In addition, this steroid is immunosuppressive. This means that

  any chance of Nera’s immune system overcoming any initial infectious cause of illness was greatly

  reduced by administration of this drug. The records indicate that Nera experienced some of the

  common side effects noted in this paragraph. A necropsy would have determined their cause.

          12.     It particularly shocked me that this steroid, which I believe most veterinarians

  would give sparingly only once per month, was administered to Nera daily for four days in a row

  and then again after one day off for three additional days. This is absolutely inappropriate. The use

  of this drug, unfittingly and with total disregard to its label, is a likely contributor to Nera’s death.

  This is not how a competent veterinarian would use this drug.

          13.     It is possible that the use of Depo-Medrol, in the manner administered by Mr. Stark,

  was alone sufficient to cause Nera’s premature death. Had Mr. Stark given Depo-Medrol only

  once, even though it likely would have been contra-indicated by a proper veterinary diagnosis,

  Nera may have recovered from her underlying illness. The daily administration of the drug, which

  was contrary to its label and counter to competent veterinary practice, possibly caused congestive

  heart failure (and subsequent fluid in the lungs) in Nera.

          14.     In addition, the records indicate that Nera was given PenJect. This is a preparation

  of penicillin, an antibiotic. The drug is made primarily for large animals—such as horses and

  cattle—to be given deep in the muscle and it is not recommended in doses of larger than 10 mL in

  one area. If larger doses are administered, the drug will become a large foreign substance within

  the muscle. Yet the records indicate that Mr. Stark administered to Nera—who was likely a

  minimum of two or three times lighter in body weight than an adult horse or cow—12 mL once a



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  day. While there is a forgiving therapeutic dose range, the volume alone is inappropriate.

  Furthermore, penicillin often causes stomach upset, which may be why Nera continued to show a

  lack of appetite. If Nera in fact had a peptic ulcer, then the administration of an antibiotic could

  further contribute to her inappetence and, thus, her demise.

           15.   The records indicate that when Mr. Stark did not get results from this drug regimen,

  he resorted to administering Excede, another antibiotic with a similar mode of action as PenJect

  and therefore unlikely to increase bacterial coverage or add significantly to the treatment at this

  point.

           16.   I am aware that SARS-CoV-2, the novel coronavirus that causes COVID-19 in

  humans, has been known to cause lethargy, breathing difficulties, inappetence, and weakness in

  Big Cats. These are symptoms that Nera exhibited.

           17.   I am also aware that the Centers for Disease Control and Prevention advises that

  SARS-CoV-2 can spread from people to animals, and that industry bodies such as the Association

  of Zoos and Aquariums and the U.S. Department of Agriculture Animal and Plant Health

  Inspection Service have advised accredited and licensed animal exhibition facilities to take a

  number of precautions to guard against transmission of SARS-CoV-2 to Big Cats. I am also aware

  that multiple Big Cats have tested positive for SARS-CoV-2 at the Bronx Zoo.

           18.   Antibiotics and steroids are not effective treatments for viruses. The course of

  treatment given to Nera suggests to me that Mr. Stark and his staff did not consider whether SARS-

  CoV-2 might be the potential cause of Nera’s underlying illness, despite this having been a

  possibility I believe any competent Big Cat veterinarian would have considered, especially under

  the circumstances of the current pandemic.




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         19.     The records further indicate that Mr. Stark administered to Nera 10 mL of B

  vitamins, reported as Maxi-B. Maxi-B is a vitamin B supplement for cattle and the recommended

  dose is 1-2 mL per 500 lbs of body weight once or twice weekly, according to the product

  directions. The records indicate Nera received 10 mL daily. While B vitamins are water soluble

  and, generally, an overabundance will be urinated out, overdoses of vitamin B can cause

  dehydration, excessive urination, and ataxia. The records suggest to me that this may have occurred

  here. Ataxia, or abnormal gait, was reported on Friday, May 1—the second day Mr. Stark

  administered to Nera a massive dose of B vitamins. Mr. Stark continued to administer an

  inappropriate dose for a total of six out of eleven days until Nera’s demise. In my experience, B

  vitamin supplementation is only truly necessary in cats that have malabsorption disease or are fed

  an incomplete diet.

         20.     The records also indicate that supplementation of fluids was woefully

  underutilized. Mr. Stark administered a total of 1000 mL LRS, I assume subcutaneously, and 2000

  mL electrolyte solution, I assume orally. Normal supplementation for dehydration would require

  a minimum of 20-60 mL/kg daily. This would mean that Nera, if she weighed 100 kg, or 220 lbs.,

  should have received 2000 mL to 6000 mL per day, significantly more than she received in the

  eleven days she was sick. In fact, the total she received in eleven days under Mr. Stark is what a

  competent veterinarian would have given her daily. I believe based on the records that Nera might

  have recovered if she had been left with appropriate fluid supplementation, and was not

  administered long-acting steroids daily, or antibiotics for no reason.

         21.     The records do not indicate that Mr. Stark or his staff gathered or analyzed a blood

  sample from Nera. I would have drawn and analyzed blood at the earliest opportunity in this case,

  had Nera been my patient. This would have been a proper and necessary step to diagnose Nera and



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  to determine an adequate veterinary medical response to her underlying condition. Big Cats can

  be trained to allow medical procedures like blood draws and fluid administration.

         22.     I was unable to make additional observations about Nera’s body condition—

  including whether she was at a normal, healthy weight when she died—because, in the video

  recorded by Mr. Stark and his staff, Nera’s body was almost entirely covered by a Confederate

  battle flag. Nera’s body condition, including her weight, is something I would want to analyze via

  a necropsy so that I could render further conclusions regarding what would have been more

  appropriate drug dosages, chronicity of illness, and whether or not she was being fed appropriate

  amounts.

         23.     I strongly believe that immediate necropsies were required—not only of Nera, but

  also of Jomba, a male tiger aged 20-to-22 years old, who died the day after Nera and apparently

  suffered from respiratory distress before he succumbed. Instead, Mr. Stark buried these Big Cats

  without performing necropsies. This would be my opinion even in the absence of the pandemic

  caused by SARS-CoV-2. Lions are remarkably resilient to illness. Anytime a lion, and particularly

  a young lion such as Nera, who was housed with other lions, dies of unknown causes, a necropsy

  is indicated, and I believe required to provide adequate veterinary care. That another Big Cat died

  the following day of unknown causes—regardless of Jomba’s advanced age—further underscores

  the urgent need for necropsies to determine cause of death and to contain or mitigate any

  transmissible pathogen that may be present at the facility. Especially in light of current conditions

  brought about by SARS-CoV-2, necropsies were urgently needed to rule out the novel coronavirus

  that is known to be transmissible to Big Cats, both for the protection of the remaining Big Cats at

  the Defendants’ facility and for the public health.




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